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  Message


  From :          Karp, Jonathan [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECI PIENTS/CN=02DE03 54F13444D7BCB58CD0F8031C04-KARP, JONAT]
  Sent :          7/31/2020 5:15:29 PM
  To:             Canedy, Dana [/o=Exchangelabs/ou=Exchange Admin istrative Group
                  (FYDIBOH F23SPDLT)/cn=Recipients/cn =b8e86f05cd6f41c794361865e1c810c2-Canedy, Dan]
  Subject :       Fwd :                                           P&L at $5001<
  Attachments :                                       _P&L.xl s; ATT00001.htm



  Dana: I'm amenable to whatever you and Priscilla want to do. He's eloquent and has a good reputation.
                                 so that's the risk here.

  J.


  Begin forwarded message:

  From: "Painton, Priscill.a"
  Date: July 31, 2020 at 10:27:36 AM EDT
  To: "Canedy, Dana"
  Cc: "Karp, Jonathan"
  Subject: Fw:                                                                        .P &L at $500k


  Dear Dana: Jon and I had a very good meeting yesterday with the author of the book I sent you--



                                                                                                                     The good
  news is that,
                                 In that sense, the book carries a helpful dose of hope.

       is an unusual agent. He isn't conducting a formal auction. Instead, he is telling me what he wants and
  what others have offered to see if we can close the deal. So: He told me yesterday that he wants $.S00,000 for
  the book (I will ask fo r world, audio, first serial}, and that he already has a $400,000 offer in . He plans to ask
  another publisher, whom he has described as "keen," for his bid today. So, if at all possible, I would like to
  make an offer today!

  Below you will find a few comps that would justify going to $500,000. They were prepared for a book Eamon
  bought                   , which                                                       We paid $400,000 for
  that book. I think we can justify going to $500,000 on this one because      has a
  based on
                     (You have those good numbers in a previous email.)       has another advantage:

                          So I am hoping this book has a long life as a paperback supported

  Let me know if you need anything more from me, and thanks for being so intrigued by thi s already.

  Best,
  pp                                                                                       US v. Bertelsmann
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  From: Park, Hana
  Sent: Friday, July 31, 2020 10: 13 AM
  To: Painton, Pri scilla
  Subject:                                                P&L at $500k



                                                                                         (W.W. Norton,
  HC: 26,839
  TP: 16,706
  EB: 9,781
  TOTAL: 53,326

                                                                       (W.W . Norton,
  HC:184,863
  TP: 93,495
  EB: 30,517
  TOTAL: 308,875

                                                                           (FSG,
  HC: 215,093
  TP: 72,483
  EB: 68,063
  TOT AL: 355,639

                                                                                                   (FSG,
  HC: 126,586
  TP: 39,738
  EB: 63,185
  TOTAL: 229,509

                                                                                (Spiegel & Grau,
  HC: 143,862
  TP: 64,209
  EB: 8 1,404
  TOTAL: 289,475

                                      (Portfolio,
  HC: 26,539
  TP: NIA
  EB: 6,799
  TOTA_L: 33,338

                                          (Portfolio,
  HC: 21,221
  TP: 3,314
  EB: 6,649
  TOTAL: 31,184

  Hana Park




                                                                                                                     VCBS-00679706
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  Editorial Assistant I Simon & Schuster
  1230 Avenue of the Americas, New York, NY 10020




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